                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE

DANTE BROWN,                                   )
                                               )
              Petitioner,                      )
                                               )
v.                                             )       Nos.:   3:05-CR-2-TAV-HBG-2
                                               )               3:16-CV-228-TAV
UNITED STATES OF AMERICA,                      )
                                               )
              Respondent.                      )


                                    JUDGMENT ORDER

       For the reasons expressed in the accompanying memorandum opinion, it is ORDERED

and ADJUDGED that Petitioner’s § 2255 motion [Doc. 47] is DENIED and DISMISSED

WITH PREJUDICE. If Petitioner files a notice of appeal from this judgment, such notice of

appeal will be treated as an application for a certificate of appealability, which is DENIED

pursuant to 28 U.S.C. § 2253(c)(2) and Fed. R. App. P. 22(b) because he has failed to make a

substantial showing of the denial of a federal constitutional right. The Court CERTIFIES

pursuant to 28 U.S.C. § 1915(a)(3) and Fed. R. App. P. 24 that any such appeal from this

judgment would be frivolous and not taken in good faith.

       ENTER:


                                    s/ Thomas A. Varlan
                                    CHIEF UNITED STATES DISTRICT JUDGE


 ENTERED AS A JUDGMENT

      s/ Debra C. Poplin
     CLERK OF COURT




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